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                                                               March 23, 2023
  VIA ECF

  The Honorable Ann M. Donnelly
  United States District Court
  Eastern District of New York
  225 Cadman Plaza East
  Brooklyn, New York 11201

           Re:    Henkin, et al. v. Qatar Charity, et al., No. 21-cv-05716 (AMD) (MVS) —
                  Supplemental Letter re Qatar Charity’s Motion to Dismiss the Complaint

  Dear Judge Donnelly:
         As invited by this Court during the Parties’ March 16 oral argument on the pending
  motions to dismiss, Defendant Qatar Charity submits this letter in further support of its motion
  (ECF No. 58). This letter seeks to address several points raised at oral argument and to highlight
  relevant authority decided following the Parties’ briefing on the pending motion.1
      I.   Przewozman, et al. v. Qatar Charity, et al.
          On March 17, 2023, the Honorable Nicholas Garaufis of the Eastern District of New
  York ordered the dismissal (without prejudice) of the Complaint in Przewozman, et al. v. Qatar
  Charity, et al., No. 20-cv-6088 (E.D.N.Y. Mar. 17, 2023), ECF No. 60 (“Przewozman Op.”). As
  to Qatar Charity, Judge Garaufis dismissed on the grounds that the plaintiffs “failed to establish a
  prima facie case for personal jurisdiction over Masraf al Rayan and Qatar Charity.”
  (Przewozman Op. at 27). Notably, the jurisdictional allegations in that case are almost identical
  to the jurisdictional allegations in the Complaint in this matter. (Compare Henkin Complaint
  ¶¶ 10, 22-24, 156-64, with Przewozman Complaint ¶¶ 10, 23-25, 158-66). Judge Garaufis’s
  analysis of a case involving the same three Defendants and strikingly similar jurisdictional
  allegations provides particularly salient guidance for this Court. Were this Court to reach the
  same conclusions as Judge Garaufis—as we respectfully submit it should—it too must dismiss
  the Complaint against all three Defendants.
         There are several observations and holdings from Judge Garaufis’s opinion particularly
  worth highlighting:



  1
    To the extent not addressed herein, Qatar Charity adopts the arguments articulated by Qatar National
  Bank and Masraf al Rayan in their respective supplemental letters to the Court dated March 23, 2023.
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          First, Judge Garaufis “easily” rejected the Prezwozman plaintiffs’ argument under
  Section 302(a)(2) of the New York Long-Arm Statute, which requires that actionable claims
  arise from tortious conduct committed within the state. Judge Garaufis adopted the defendants’
  arguments—the very same arguments made by Defendants before Your Honor both in our briefs
  and during the March 16th oral argument—that no tortious act was committed in New York
  because the use of a correspondent bank is “a normal commercial activity which is plainly not a
  tort” and because “there is no allegation that Masraf al Rayan or Qatar Charity was ever
  physically present in the state.” (Przewozman Op. at 17-18).
         Second, regarding Section 302(a)(1), the court focused on the “purposeful availment”
  prong of the statute and made several pertinent observations. Judge Garaufis noted that there
  were no non-conclusory allegations that Masraf al Rayan “encouraged or marketed use of its
  correspondent account in New York” or that “the use of the correspondent account was
  necessary to exchange dollars” (which, as we have argued to Your Honor, it plainly was not).
  (Przewozman Op. at 24). Judge Garaufis also repeatedly cited to and relied on Judge Caproni’s
  decision in Berdeaux—which, as Your Honor surely recalls we have argued repeatedly compels
  dismissal as to Qatar Charity because Plaintiffs’ arguments as to a bank customer are
  nonsensical—to hold that “there is no allegation anywhere in the Complaint that Qatar
  Charity . . . intended to use or was even aware of the existence of a correspondent account in
  New York”; “it is unclear how it would be sufficient to allege [that] Qatar Charity requested
  currency exchange transactions that, without their knowledge, were effected in a New York-
  based account.” (Przewozman Op. at 24 & n.15 (citing and quoting Berdeaux v. OneCoin Ltd.,
  561 F. Supp. 3d 379, 403 n.25 (S.D.N.Y. 2021))).
          Third, the decision also noted that the plaintiffs’ allegations “are too insubstantial to
  clearly establish purposeful availment of the New York banking system” and that the complaint
  “comes dangerously close to asserting New York jurisdiction over any financial transaction
  conducted in U.S. dollars.” (Przewozman Op. at 25).
         Fourth, as we have argued before Your Honor, the decision flatly held that “the court
  agrees with the many federal decisions concluding [that] New York law does not support co-
  conspirator jurisdiction under section 302(a)(1),” thereby rejecting what is at root the key legal
  theory underlying Plaintiffs’ arguments before Your Honor in this case. (Przewozman Op. at
  35).
          Finally, the court turned to the second prong of Section 302(a)(1), “which requires that
  the claims at issue ‘arise from the transactions.’” (Przewozman Op. at 26). As we recently
  argued before Your Honor, here the claims and the alleged contacts bear no relation as there are
  no plausible allegations connecting the purported transfers to Plaintiffs’ injuries. Judge Garaufis
  acknowledged, as we have argued in this case, that the temporal gap at issue between alleged
  misconduct and harm was fatal to Plaintiffs’ claims. (See Mem. in Support of Mot. to Dismiss
  (ECF No. 58-1), at 16; see also Transcript at 13:23-16:07). Judge Garaufis held: “The
  transactions allegedly routed through the correspondent account occurred, at latest, in 2015,
  while the rocket attacks did not happen until 2019. . . . This temporal gap leaves the nexus
  between the Defendants’ New York-related acts and Plaintiffs’ injuries far too attenuated.”
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  (Przewozman Op. at 27). As Judge Garaufis also held, “[i]t is the Plaintiffs’ burden to factually
  allege that the Defendants ‘used an actual, specific transaction through a New York
  correspondent account in the course of bringing about the injuries on which the claims are
  predicated.” (Przewozman Op. at 27 (citing Daou v. BLC Bank, S.A.L., 42 F.4th 120, 132 (2d
  Cir. 2022))). Plaintiffs have not carried that burden here for the reasons previously argued, and
  hence they have not sufficiently alleged the necessary causal link. This absence of a “causal
  link” between the correspondent account and the attacks was also fatal to the Przewozman
  plaintiffs under Rule 4(k)(2), because that absence means that the allegations fail to satisfy the
  requirements of the Due Process Clause.
         For all of these reasons, Judge Garaufis’s decision provides powerful support for the
  arguments already made to this Court. If adopted by Your Honor, dismissal of Qatar Charity
  should result.
   II.   Issues Raised at Oral Argument
          Whether the documents submitted by Qatar Charity in connection with its briefing are
  properly considered on a motion to dismiss was discussed in some detail at oral argument. (See
  Transcript at 35:20-21). There is no question, however, as explained in Qatar Charity’s brief,
  that this Court may properly consider in evaluating a motion to dismiss materials that are relied
  upon or explicitly incorporated into the Complaint, along with any additional materials that are
  integral to it or are subject to judicial notice. See, e.g., I. Meyer Pincus & Assocs. V.
  Oppenheimer & Co., Inc., 936 F.2d 759, 762 (2d Cir. 1991); Donoghue v. Gad, 2022 WL
  3156181, at *3 (S.D.N.Y. Aug. 8, 2022) (documents that are integral to the complaint are those
  that the plaintiff has “actual notice of” and “relied upon . . . in framing the complaint”). Thus,
  for example, the Court can properly consider the statements and “tweets” of the State
  Department and United Nations and the statements of President Biden. Christa McAuliffe
  Intermediate School v. De Blasio, 364 F. Supp. 3d 253 (S.D.N.Y 2019) (taking judicial notice of
  information from government website, press releases, government officials’ “tweets,” and press
  interviews). Critically, “[i]f a plaintiff’s allegations are contradicted by such a document, those
  allegations are insufficient to defeat a motion to dismiss.” Matusovsky v. Merrill Lynch, 186 F.
  Supp. 2d 397, 400 (S.D.N.Y. 2002). This Court should consider those materials referenced in
  the Complaint and should disregard all allegations that such documents undermine.
          At oral argument, Plaintiffs’ counsel suggested that the Supreme Court’s ruling in Ford
  “foreclosed this argument that you need causation in order to have personal jurisdiction over a
  [d]efendant.” (Transcript at 24:20-21). Ford, which considered products-liability claims, does
  not relieve a plaintiff of the need to satisfy the requirements of due process. Plaintiffs’
  misconstruction and misapplication of the Ford decision is exactly what the Supreme Court
  sought to avoid when it reiterated its prior holdings concerning jurisdiction over foreign
  defendants and, on the facts before it, found sufficient contacts with the forum to satisfy due
  process. Ford Motor Co. v. Mont. Eighth Jud. Dist. Ct., 141 S. Ct. 1017, 1026 (2021) (clarifying
  that the holding “does not mean anything goes[]” and making clear that the relationship “among
  the defendant, the forum, and the litigation—the essential foundation of specific jurisdiction”—
  must still be “strong”). Contrary to Plaintiffs’ arguments, Ford stands for the unremarkable
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  proposition that while a plaintiff need not show “a strict causal relationship” between a
  defendant’s forum-based contacts and the claim, he must still establish that his claim arises out
  of or relates to those contacts. Id.; see also, e.g., Schrier v. Qatar Islamic Bank, 2022 WL
  4598630, at *19 (S.D. Fla. Sept. 30, 2022) (rejecting similar interpretation of Ford and holding
  that “the general allegation that some ‘funds’—not these specific funds—flowed through the
  QIB accounts and went to support the Qatar Charity[]” was “too attenuated” of a relationship
  between the defendant’s in-forum conduct and the plaintiff’s ATA claims). This holding is
  consistent with the well-established requirements of specific personal jurisdiction. See Bristol-
  Myers Squibb Co. v. Superior Court of Cal. San Francisco Cty., 582 U.S. 255, 262 (2017) (“[i]n
  order for a state to exercise specific jurisdiction, ‘the suit’ must ‘arise out of or relate to the
  defendant’s contacts with the forum’”) (citation omitted).
          At oral argument, Plaintiffs’ counsel further suggested that the Second Circuit’s recent
  decision in Freeman does away with the requirement that to adequately plead conspiracy under
  JASTA, a plaintiff must allege that defendants “directly conspire[d] with the terrorist
  organization itself.” (Transcript at 73:21-74:02). It is true that, in dicta, two of the three judges
  on a panel of the Second Circuit stated that they “disagree[d] with the district court’s primary
  reason for dismiss[ing]” the plaintiffs’ claims—the plaintiffs’ failure “to plausibly allege that the
  [defendants] conspired directly with the terrorist groups” that injured them—while the third
  judge expressly disagreed. Freeman, et al. v. HSBC Holdings PLC, et al., 57 F.4th 66, 75 (2d
  Cir. 2023); but see id. at 84 (Jacobs, J., concurring) (JASTA’s requirement “that a defendant
  conspire ‘with the person who committed’ acts of terrorism . . . requires that there be a direct link
  between a defendant bank and a terrorist”). But the court nonetheless affirmed the dismissal
  based on the plaintiffs’ failure to “adequately allege[] that the [defendants] conspired – either
  directly or indirectly – with the terrorist groups that carried out the attacks, or that the terrorist
  attacks that killed or injured” the plaintiffs “were in furtherance of the [defendants’] alleged
  conspiracy.” Id. at 75. Indirect or not, the conspiracy allegations presented here fail to plausibly
  allege the requisite “common intent” between Qatar Charity and the terrorists responsible for
  Plaintiffs’ injuries. Id. at 80. Plaintiffs’ sole purported basis for jurisdiction over these foreign
  Defendants with no U.S. contacts—allegedly, a years-long conspiracy to finance terrorism
  involving a foreign government, heads of state, respected businesses, and lauded charities—is
  wholly conclusory, without any well-pleaded factual content to support any plausible inference
  of Qatar Charity’s association with any terrorist organization, much less of its involvement with
  the terrorist acts giving rise to Plaintiffs’ injuries.
          Which leads to a more salient point here. The Court has before it a 76-page, 400-
  paragraph Complaint, which fails to plead non-conclusory allegations of any factual nexus that
  might conceivably connect these Defendants to the only terrorist acts alleged. Almost ten years
  have passed since the normal-course commercial transactions Plaintiffs cite as the basis for this
  Court’s jurisdiction over these foreign entities. In light of counsel’s assertion that amendment of
  the Complaint is not necessary, and Plaintiffs’ decision to forego Your Honor’s multiple
  invitations to do so, dismissal with prejudice is warranted here.
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         For all the foregoing reasons, as well as those set forth in Qatar Charity’s moving papers
  (ECF Nos. 58 & 68), the Court should dismiss the Complaint with prejudice as against Qatar
  Charity.
                                                          Respectfully submitted,

                                                          /s/ John M. Hillebrecht
                                                          John M. Hillebrecht

                                                          Counsel for Qatar Charity

  cc:    All counsel of record (by ECF)




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